Case 3:11-md-02244-K Document 907 Filed 11/08/18               Page 1 of 3 PageID 34188



                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

IN RE: DEPUY ORTHOPAEDICS, INC. §
PINNACLE HIP IMPLANT PRODUCTS §                   MDL Docket No. 3:11-MD-02244-K
LIABILITY LITIGATION            §
                                §


                UNOPPOSED MOTION TO WITHDRAW AS COUNSEL



       Seth Roberts of the law firm Locke Lord LLP files this unopposed motion and seeks to

withdraw as counsel of record for DePuy Orthopaedics, Inc., DePuy Products, Inc., DePuy

Synthes, Inc., Johnson & Johnson; Johnson & Johnson Services, Inc.; and Johnson & Johnson

International (the “DePuy Defendants”) on all matters in this MDL proceeding.


Date: November 8, 2018                       Respectfully submitted by:



                                            /s/ Seth M. Roberts
                                            Seth M. Roberts
                                            State Bar No. 24051255
                                            LOCKE LORD LLP
                                            2200 Ross Avenue, Suite 2800
                                            Dallas, Texas 75201
                                            T: 214-740-8442
                                            F: 214-740-8800
                                            sroberts@lockelord.com


                                            ATTORNEY FOR THE DEPUY
                                            DEFENDANTS




______________________________________________________________________________
UNOPPOSED MOTION TO WITHDRAW AS COUNSEL                                      1
Case 3:11-md-02244-K Document 907 Filed 11/08/18                   Page 2 of 3 PageID 34189



                            CERTIFICATE OF CONFERENCE


       I hereby certify that on November 7, 2018, I conferred with Richard J. Arsenault,

Plaintiffs’ counsel, who confirmed that the motion is unopposed.


                                                                    /s/ Seth M. Roberts
                                                                    Seth M. Roberts




______________________________________________________________________________
UNOPPOSED MOTION TO WITHDRAW AS COUNSEL                                      2
Case 3:11-md-02244-K Document 907 Filed 11/08/18                Page 3 of 3 PageID 34190



                                    CERTIFICATE OF SERVICE


       I hereby certify that on November 8, 2018, I served all counsel of record via the Court’s

electronic filing e-mail service.


                                                                  /s/ Seth M. Roberts
                                                                  Seth M. Roberts




______________________________________________________________________________
UNOPPOSED MOTION TO WITHDRAW AS COUNSEL                                      3
